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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



JENNIFER SHAFER, et al.,                       )       Case No.: 1:16 CV 1468
                                               )
       Plaintiffs                              )
                                               )
       v.                                      )       JUDGE SOLOMON OLIVER, JR.
                                               )
UNITED OF OMAHA LIFE                           )
INSURANCE COMPANY, et al.,                     )
                                               )
       Defendants                              )       JUDGMENT ENTRY



        The court, having granted Plaintiffs Jennifer and Michael Shafer’s (“Plaintiffs”) Motion for

Judgment in Favor of Coverage as a Matter of Law (ECF No. 16) in a separate Order on August 30,

2017 (ECF No. 19), and having granted in part and denied in part Plaintiffs’ Motion for Attorney

Fees, Costs, and Interest (ECF No. 22) in a separate Order on this same date, hereby enters judgment

in favor of Plaintiffs and against Defendant United of Omaha Life Insurance Company (“United”)

in the amount of $107,000.00. In addition, Plaintiffs are entitled to an award of prejudgment interest

on that judgment using the applicable rate calculation pursuant to 28 U.S.C. § 19611 for the period

beginning on August 3, 2015 and ending on October 31, 2017. Plaintiffs are also entitled to




 1
         Pursuant to 28 U.S.C. § 1961, interest is calculated at “a rate equal to the weekly
         average 1–year constant maturity Treasury yield, as published by the Board of Governors
         of the Federal Reserve System”.
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postjudgment interest, to be calculated in accordance with 28 U.S.C. § 1961,2 from the date of entry

of judgment on October 31, 2017 which shall be computed daily until date of payment.

       Having determined that coverage exists under the Loftus life insurance policy, Plaintiffs’

state law claims against Fitzgibbons Arnold & Company Agency, Inc. Welfare Benefits Plan (Plan

No. 502), Fitzgibbons Arnold & Company Agency, Inc. Group Term Life Insurance Benefits Plan

#GLUG-ATZZ, and Fitzgibbons Arnold & Company Agency, Inc. are dismissed without prejudice

as moot based on the court’s resolution of coverage in favor of Plaintiffs and against United on

Plaintiffs’ ERISA claims.

       IT IS SO ORDERED.


                                              /s/ SOLOMON OLIVER, JR.
                                              UNITED STATES DISTRICT COURT

October 31, 2017




 2
         See id.

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